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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND____ FILED          ___ ENTERED
                                                              ____ LOGGED _____ RECEIVED
IN THE MATTER OF THE SEIZURE OF THE                           8:28 am, Mar 15 2021
FOLLOWING PROPERTIES:                                         AT BALTIMORE
                                                              CLERK, U.S. DISTRICT COURT
All moneys up to $10,000.00 in M&T BANK                       DISTRICT OF MARYLAND
                                                              BY ______________Deputy
ACCOUNT NUMBER 9872353496, held in the
name of Jasmine L Manis Johnson;

All moneys up to $39,900.00 in M&T BANK
ACCOUNT NUMBER 9882873343, held in the
name of Aliyou Kamara;

All moneys up to $10,000.00 in M&T BANK
ACCOUNT NUMBER 9876320392 held in the
name of Jacqueline N Smith;                                      1:21-mj-608 TMD
                                                                 1:21-mj-609 TMD
All moneys up to $71,000.00 in M&T BANK
                                                  Case Nos.
ACCOUNT NUMBER 9854548816 held in the
name of Elizabeth M Cayanan;

All moneys up to $25,000.00 in M&T BANK
ACCOUNT NUMBER 9875555436 held in the
name of Joyce McCosker;

All moneys up to $29,900.00 in M&T BANK
ACCOUNT NUMBER 9870035582 held in the
name of Adewale Olaiya;

All moneys up to $149,900.00 in M&T BANK
ACCOUNT NUMBER 9851232984 held in the
name of Johnny Insurance Agency Inc. (UBO John
C Ndingsa); and

All moneys up to $106,400.00 in CAPITAL ONE
BANK ACCOUNT NUMBER 1361424133 held in
the name of Janet Import & Export.

       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

       I, Rahul Vinayak, a Special Agent with the United States Secret Service, being duly

sworn, depose and state:

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                                  AGENT’S BACKGROUND

       1.       I am a duly appointed Special Agent with the United States Secret Service

(“USSS”) and have been employed as such since April 2019. Through my employment with the

USSS, I have gained knowledge in the use of various investigative techniques including the

utilization of physical surveillance, undercover agents, confidential informants and cooperating

witnesses, consensually monitored recordings, investigative interviews, financial investigations,

the service of administrative and grand jury subpoenas, mobile wireless tracking methods,

analyzing telephone pen register and caller identification system data, and the execution of

search and arrest warrants, including those executed upon physical addresses as well as those

executed upon electronic equipment and data storage providers.

       2.       Throughout my career in law enforcement, I have become familiar with the

methods and techniques associated with financial institution fraud and counterfeit trends and

tactics. In the course of my training and conducting financial investigations, I have incorporated

the use of the following investigative techniques: interviewing informants, cooperating

witnesses, victims, and subjects; physical surveillance and utilization of various surveillance

techniques; supporting undercover operations; participating in mobile wireless tracking missions;

and preparing and executing search and arrest warrants that have led to seizures of counterfeit

currency, access devices, and other instruments used to commit financial fraud.

       3.       Based on my knowledge, training, and experience in the investigation of financial

institution fraud, I am familiar with the ways in which fraudsters conduct their business. My

familiarity includes the various means and methods by which individuals defraud financial

institutions; their use of cellular telephones and social media accounts to facilitate fraud; and



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their use of code words to describe fraud. I am familiar with the ways that those who commit

financial institution fraud are able to carry out their fraud without detection. Financial institution

fraud is commonly an ongoing and recurring criminal activity. As contrasted with crimes against

persons, which tend to be discrete offenses, crimes such as bank fraud and wire fraud are illicit

commercial activities that are characterized by regular, repeated criminal activity.

       4.       The information set forth below is based upon my review of records and upon

information provided by other sworn law enforcement officers participating in this investigation.

I have not included each and every fact obtained pursuant to this investigation, but have set forth

those facts that I believe are essential to establish the necessary foundation for the issuance of the

seizure warrant for the aforementioned funds.

                                PURPOSE OF THE AFFIDAVIT

       5.       I submit this affidavit in support of the application made by the United States of

America for a seizure warrant authorizing the seizure of the funds held by M&T Bank (“M&T”)

and Capital One Bank (“Capital One”) in the accounts listed in Attachment A1 (pertaining to

M&T) and Attachment A2 (pertaining to Capital One) to this Affidavit, up to the amounts

identified in column B (the second column from the left) of Attachment A1 and Attachment A2.

       6.       The accounts listed in Attachment A1 and Attachment A2 have all been identified

by M&T or Capital One as having fraudulently received Small Business Administration (SBA)

Economic Injury Disaster Loan (EIDL) payments via ACH or wire transfer. Each of these

accounts has a Maryland address listed for the account holder. Accordingly, as explained in more

detail below, the funds held in the accounts listed in Attachment A1 and Attachment A2 contain

proceeds obtained from wire fraud offenses subject to seizure in this district.



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                                       APPLICABLE LAW

       7.       Based on the information set forth below, there is probable cause to believe that

the funds held in the subject accounts contain proceeds of substantive violations of 18 U.S.C.

§ 1343 (wire fraud), and are, therefore, subject to civil forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(C).

       8.       Wire fraud is defined in 18 U.S.C. § 1343, which provides, “Whoever, having

devised or intending to devise any scheme or artifice to defraud, or for obtaining money or

property by means of false or fraudulent pretenses, representations, or promises, transmits or

causes to be transmitted by means of wire, radio, or television communication in interstate or

foreign commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing

such scheme or artifice,” shall be guilty of a federal offense.

       9.       The Court’s authority to order forfeiture of the proceeds of violations of 18 U.S.C.

§ 1343 is found in 18 U.S.C. § 981(a)(1)(C). Section 981(a)(1)(C) provides for the civil

forfeiture of any property, real or personal, which constitutes or is derived from proceeds from

any offense constituting “specified unlawful activity,” as defined in 18 U.S.C. § 1956(c)(7). A

“specified unlawful activity,” as defined in § 1956(c)(7)(D), includes offenses listed in 18 U.S.C.

§ 1961(1). Specifically, 1961(1) includes violations of 18 U.S.C. § 1343.

       10.        Recognizing that money is fungible, 18 U.S.C. § 984 provides that, in a civil

forfeiture action against funds in an account in a financial institution, the United States need not

identify the specific funds involved in the criminal offense. Rather, “any identical property found

in the same account shall be subject to forfeiture,” so long as the action against the funds is

commenced within “1 year from the date of the offense.” 18 U.S.C. § 984. In other words, the



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United States may forfeit any funds in an account, even if the funds currently in the account were

not involved in the relevant criminal activity, so long as the funds forfeited do not exceed the

total amount of dirty funds deposited into the account within the past year.

       11.     Pursuant to 18 U.S.C. § 981(b), property subject to civil forfeiture may be seized

via a civil seizure warrant issued by a judicial officer “in any district in which a forfeiture action

against the property may be filed,” and may be executed “in any district in which the property is

found,” if there is probable cause to believe that the property is subject to forfeiture.

                              OVERVIEW OF SBA LOAN FRAUD

       12.     As part of the CARES Act, the Small Business Administration (SBA) started two

programs, the Economic Injury Disaster Loan (EIDL) and the Economic Injury Disaster Grant

(EIDG) programs. Both programs were created to provide economic relief to businesses

experiencing a temporary loss of revenue due to COVID-19. EIDLs were created to provide

small businesses with working capital for the continuation of health care benefits, rent, utilities,

and fixed debts. The funds are disbursed directly from the SBA, with a maximum loan amount

equal to six months of working capital. EIDGs are an advance of funds provided to EIDL

applicants, with a maximum advance of $10,000.

       13.     The process to apply for SBA’s EIDL and EIDG starts on the SBA’s website. An

application is created and self-certified by the applicant. The applicant self-certifies that they

meet the following eligibility criteria:

                i. Business was in operation on February 1, 2020;1




1
  A business is considered “in operation” if it is registered with a state’s department of labor and
is in good standing. A business “in operation” cannot be in forfeited, inactive, or bankrupt status.
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               ii. Application is for a small business, a private non-profit organization with IRS

                   designation 501(c), (d), or (e), a private non-profit doing business under State

                   law, or a faith-based organization; and

              iii. Business must have acceptable credit history and ability to repay the loan.

       14.     Once an application is self-certified, SBA reviews and processes the application.

SBA obtains supporting documentation (payroll forms, tax forms, etc.) from the applicant. The

applicant receives a link from SBA to electronically sign loan documents and provide banking

information. Once the documents are signed, the loan is funded and the payment is sent via ACH

to the applicant’s bank account. The SBA processing center is located in Colorado.

       15.     There is no explicit requirement that the funds have to go into a business bank

account. However, if the funds are to be deposited into a personal bank account, the account

holder has to be associated with the business that made the application.2

       16.     Common fraud indicators that are seen with EIDLs and EIDGs include:

               i. New Employer Identification Numbers (EIN) on the loan applications;

               ii. EINs of businesses not in good standing being used;

              iii. Fake businesses established using stolen identities;

              iv. Immediate overseas wire transfers of the loan funds;

               v. Romance scams and social media solicitations that persuade people to provide

                   personally identifiable information to “get free money.” The information is




2
 According to an SBA Information Notice dated July 22, 2020, “[A]ll proceeds are deposited
ONLY into the verified Financial Institution account belonging to the eligible applicant or
borrower. For the purposes of the EIDL program, a verified Financial Institution account is a
depository institution account using the Employer Identification Number or Social Security
Number entered by the applicant or borrower in the EIDL loan application.”
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                    then used to apply for SBA loans and portions of the proceeds go to the

                    ringleader;

                vi. False statements on loan applications;

               vii. Fraudulent supporting documents provided to the SBA (payroll forms, tax

                    forms);

              viii. Inflation of payroll; and

                ix. Misuse of proceeds.

       17.       The above fraud indicators are derived from the SBA’s rules of eligibility. The

eligibility criteria are stated on the SBA application. If an account is flagged as fraudulent by a

financial institution due to one of the above fraud indicators, the case is referred to law

enforcement to further assess eligibility.

                                       PROBABLE CAUSE

       18.       Below are explanations of the SBA loan fraud M&T or Capital One identified in

the accounts listed in Attachment A1 and Attachment A2. Most cases share common fraud

indicators, including false statements on loan applications, new EINs on the loan applications,

and romance scams. In all cases, rapid cash withdrawals and/or withdrawals using mobile

payment services (e.g. CashApp or Venmo) were made as soon as the SBA EIDG/EIDL money

was deposited.

       a. M&T Bank account number ending in 3496 has an account holder of J.J. and is a

             personal bank account. On June 30, 2020, this account received an SBA EIDG ACH

             deposit. A law enforcement database search yielded no results for the business listed

             both on the SBA EIDG application and as the ACH “remit to” business. Rapid



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   withdrawals from the account occurred as soon as the SBA EIDG posted. Based on

   these facts and my training and experience, I conclude J.J. obtained SBA EIDG funds

   based on the following false or fraudulent statements on the online SBA EIDG

   application: the business on the application was affiliated with J.J. and in existence as

   of February 1, 2020.

b. M&T Bank account number ending in 3343 has an account holder of A.K. and is a

   personal bank account. On July 6, 2020, this account received an SBA EIDL ACH

   deposit. A law enforcement database search yielded no results for the business listed

   both on the SBA EIDL application and as the ACH “remit to” business. Rapid

   withdrawals from the account occurred as soon as the SBA EIDL posted. Based on

   these facts and my training and experience, I conclude A.K. obtained SBA EIDL

   funds based on the following false or fraudulent statements on the online SBA EIDL

   application: the business on the application was affiliated with A.K. and in existence

   as of February 1, 2020.

c. M&T Bank account number ending in 0392 has an account holder of J.S. and is a

   personal bank account. On July 10, 2020, this account received an SBA EIDG ACH

   deposit. A law enforcement database search yielded no results for the business listed

   both on the SBA EIDG application and as the ACH “remit to” business. Rapid

   withdrawals from the account occurred as soon as the SBA EIDG posted. Based on

   these facts and my training and experience, I conclude J.S. obtained SBA EIDG funds

   based on the following false or fraudulent statements on the online SBA EIDG




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   application: the business on the application was affiliated with J.S. and in existence as

   of February 1, 2020.

d. M&T Bank account number ending in 8816 has an account holder of E.C. and is a

   personal bank account. On July 13, 2020, this account received an SBA EIDL ACH

   deposit. A law enforcement database search yielded no results for the business listed

   both on the SBA EIDL application and as the ACH “remit to” business. Rapid

   withdrawals from the account occurred as soon as the SBA EIDL posted. Further

   investigation confirmed E.C. fell victim to a romance scam and allowed an unknown

   individual to use her M&T Bank account number ending in 8816. Based on these

   facts and my training and experience, I conclude the SBA EIDL funds in E.C.’s

   account were obtained based on the following false or fraudulent statements on the

   online application: the business on the application was affiliated with E.C. and in

   existence as of February 1, 2020.

e. M&T Bank account number ending in 5436 has an account holder of J.M. and is a

   personal bank account. On July 14, 2020, this account received an SBA EIDL ACH

   deposit. A law enforcement database search yielded no results for the business listed

   on the SBA EIDL application. Rapid withdrawals from the account occurred as soon

   as the SBA EIDL posted. Further investigation confirmed J.M. fell victim to a

   romance scam and allowed an unknown individual to use her M&T Bank account

   number ending in 5436. Based on these facts and my training and experience, I

   conclude the SBA EIDL funds in J.M.’s account were obtained based on the




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          following false or fraudulent statements on the online application: the business on the

          application was affiliated with J.M. and in existence as of February 1, 2020.

       f. M&T Bank account number ending in 5582 has an account holder of A.O. and is a

          personal bank account. On August 12, 2020, this account received an SBA EIDL

          ACH deposit. A law enforcement database search yielded no results for the business

          listed both on the SBA EIDL application and as the ACH “remit to” business. Rapid

          withdrawals from the account occurred as soon as the SBA EIDL posted. Based on

          these facts and my training and experience, I conclude A.O. obtained SBA EIDL

          funds based on the following false or fraudulent statements on the online SBA EIDL

          application: the business on the application was affiliated with A.O. and in existence

          as of February 1, 2020.

       g. M&T Bank account number ending in 2984 has an account holder of J.N. On

          December 11, 2020, this account received an SBA EIDL ACH deposit. The ACH

          remit to name stated a business with the name of Jonny Insurance Company. This

          business was registered in the State of Maryland to J.N. on May 18, 2005 and

          forfeited on October 5, 2007. It was registered again on October 7, 2010 and forfeited

          again on October 1, 2012.3 The SBA loan application for this loan stated a gross

          revenue for Jonny Insurance Company of $59,603,000.00 despite that a forfeited

          business should not generate any revenue. Investigation into tax documents J.N.

          provided to SBA revealed a personal gross income for J.N. of $59,604.00 in 2019.
3
  According to the Maryland Department of Assessment & Taxation, “‘forfeited’ means the right
of the entity to conduct business in the State of Maryland has been relinquished and it has no
right to use its name. For domestic corporations, this also means that the business has no
existence under the laws of the State of Maryland.” Maryland State Department of Assessments
& Taxation, Business Entity Status Form (rev. Mar. 2020),
https://dat.maryland.gov/businesses/Documents/entitystatus.pdf.
                                                  10
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             Rapid withdrawals from the account occurred as soon as the SBA EIDL posted.

             Based on these facts and my training and experience, I conclude J.N. obtained SBA

             EIDL funds based on the following false or fraudulent statements on the online SBA

             EIDL application: the business on the application was in existence as of February 1,

             2020 and had a gross revenue of $59,603,000.00.

       h. Capital One Bank account number ending in 4133 has an account holder of J.O.A.

             and is a business account in the name of business J.I.E. On June 29, 2020, this

             account received an SBA EIDL ACH deposit. A law enforcement database search

             yielded no results for the business listed both on the SBA EIDL application and as the

             ACH “remit to” business. The business J.I.E. has no verifiable relationship to J.O.A.

             Rapid withdrawals from the account occurred as soon as the SBA EIDL posted.

             J.O.A. stated to bank employees that the SBA EIDL funds were going to be sent

             overseas. Bank employees stated that J.O.A. was being coached by a third party

             during the withdrawals. Based on these facts and my training and experience, I

             conclude J.O.A. obtained SBA EIDL funds based on the following false or fraudulent

             statements on the online SBA EIDL application: the business on the application was

             affiliated with J.O.A. and in existence as of February 1, 2020.

                                          CONCLUSION

       19.      Based on the foregoing, I submit that there is probable cause to believe that the

funds held in the subject bank accounts are forfeitable pursuant to 18 U.S.C. § 981(a)(1)(C) as

derived from proceeds traceable to violations of 18 U.S.C. § 1343 (Wire Fraud).




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       20.     Wherefore, it is hereby requested that Special Agents of the United States Secret

Service be authorized to seize, pursuant to 18 U.S.C. § 981(b), the funds in the accounts listed in

Attachment A1 and Attachment A2.



I declare under the penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.



                                                      Respectfully submitted,



                                                        ______________________
                                                      ____________________________
                                                       ahul Vinayak
                                                      Rahul
                                                        ecial Agent
                                                      Special
                                                      United States Secret Service


                                                                      y telephone
Affidavit submitted by email and attested to me as true and accurate by     p     consistent with
Fed. R. Crim. P. 4.1 and 41(d)(3) this ___
                                        ______
                                            _ ___ day of March 2021.
                                       ________



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                                          Honorable  Th       M
                                                              M. DiGi  l
                                                                 DiGirolamo
                                      United States Magistrate Judge




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 Deposit   TotalDeposit M&TBank                                                                               AccountHolder
                                                     FraudIndicators/Reason(s)forSeizure                                                    AccountPrimaryAddress
  Date        fromSBA     Account#                                                                                   Name
                                     SBAEIDGwithnobusinessassociatedwithaccountholder.Deposit                                      9805BethesdaChurchRd#202
6/30/2020    $10,000.00   9872353496                                                                           JasmineLManisJohnson
                                            cameinJasmineJohnson'sname.Rapidwithdrawals.                                                      Damascus,MD
                                     SBAEIDLwithnobusinessassociatedwithaccountholder.Deposit
                                                                                                                                                    8437KendallCt
 7/6/2020    $39,900.00   9882873343   cameinWhisperHillFarms'sname.Norelationshiptoaccount               AliyouKamara
                                                                                                                                                      Laurel,MD
                                                        holder.RapidWithdrawals.
                                       SBAEIDGwithnobusinessassociatedwithaccountholder.Deposit                                      4800DromolandCtAptC
7/10/2020    $10,000.00   9876320392                                                                              JacquelineNSmith
                                             cameinJacquelineSmith'sname.Rapidwithdrawals.                                                  OwingsMills,MD

                                        SBAEIDLwithnobusinessassociatedwithaccountholder.Deposit
                                                                                                                                                10326GreensideDrive
7/13/2020    $71,000.00   9854548816     cameinKalanqVegetableOil'sname.Norelationshiptoaccount        ElizabethMCayanan
                                                                                                                                                  Cockeysville,MD
                                                   holder.RomanceScam.RapidWithdrawals.
                                   SBAEIDLwithnobusinessassociatedwithaccountholder.Deposit
                                                                                                                                                   2027ConnollyRd
7/14/2020    $25,000.00   9875555436cameinCodyBinghamFarm'sname.Norelationshiptoaccount                  JoyceMcCosker
                                                                                                                                                     Fallston,MD
                                              holder.RomanceScam.RapidWithdrawals.
                                   SBAEIDLwithnobusinessassociatedwithaccountholder.Deposit                                              4406KavonAve
8/12/2020 $29,900.00 9870035582                                                                                    AdewaleOlaiya
                                          cameinAdeqaleOlaiya'sname.RapidWithdrawals.                                                         Baltimore,MD
                                    SBAEIDLwithinflatedrevenuelistedontheapplication.Deposit
                                                                                                             JohnnyInsuranceAgencyInc.         13210IdlewildDr
12/11/2020 $149,900.00 9851232984 cameinJohnnyInsuraceAgency'sname.Businessisforfeited.Rapid
                                                                                                                (UBOJohnCNdingsa)                  Bowie,MD
                                                              Withdrawals.
                                                                                                                                                                                                      Case 1:21-mj-00609-TMD Document 3 Filed 03/17/21 Page 13 of 14

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 Deposit   TotalDeposit CapitalOneBank
                                                        FraudIndicators/Reason(s)forSeizure              AccountHolderName      AccountPrimaryAddress
  Date        fromSBA        Account#
                                               SBAEIDLwithnobusinessassociatedwithaccountholder.
                                                   DepositcameinJanetImportandExport'sname.                                 905PhillipPowerDrApt100
6/29/2020   $106,400.00      1361424133                                                                     JanetImport&Export
                                                  Customerwasbeingcoachedbya3rdparty.Rapid                                           Laurel,MD
                                                                     withdrawals.
                                                                                                                                                                                             Case 1:21-mj-00609-TMD Document 3 Filed 03/17/21 Page 14 of 14

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